 

 

 

Case 18-12241-CSS Doc 184 Filed 10/09/18 Page 1 of 58 M § m P
oR§%I§ § §AL

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRIGT OF DELAWARE

 

ln re: Chapter ll
MATTRESS FIRM, INC., et al.,1 Case No. 18-12241 (CSS)
Debtors. (Jointly Administered)

Ref. Docket No. 16

 

INTERIM ORDER (I) AUTHORIZING DEBTORS TO (A) OBTAIN POSTPETITION
SECURED FINANCING PURSUANT TO SECTION 364 OF BANKRUPTCY
CODE AND (B) UTILIZE CASH COLLATERAL; (II) GRANTING LIENS AND

ADEQUATE PROTECTION; (IV) MODIFYING AUTOMATIC STAY' (V)

 

Upon the motion (the “DIP Motion”), dated October 5, 2018, of Mattress Firm, lnc. (the
“Borrower”) and its debtor affiliates, as debtors and debtors in possession (collectively, the
“Qe_bw”) in the above-captioned chapter ll cases (the “M”), pursuant to sections 105, 361,
362, 363, 364, and 507 of title ll of the United States Code (the “Bankruptcy Code”), 4001 and
9014 of the F ederal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2
of the Local Rules for the United States Banl<ruptcy Court, District of DelaWare (the “M
M”) seeking, among other things:

i. authorization for the Borrower to obtain a first priority senior secured asset-
based debtor in possession credit facility (the “ABL DIP Facilig”) consisting of up to

$150 million in revolving credit commitments (the commitments thereunder the

“Revolving DIP Commitments” and the loans thereunder the “Revolving DIP Loans” ,

 

1 The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter ll
cases, Which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. This information may be obtained on the Website of the Debtors’
noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.

Error!

 

 

"+_
CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 2 Of 58

which shall include (a) a roll up of all outstanding Prepetition ABL Credit Agreement
Indebtedness (as defined below) upon entry of this lnterim Order, (b) a $15,000,000
swing line sub-facility, and (c) an amount equal to $30,000,000 of the Revolving DIP
Commitments available in the form of standby letters of credit, inclusive of all
outstanding letters of credit existing under the Prepetition ABL Credit Agreement (as
defined herein) converting to letters of credit under the ABL DIP Facility, provided by
Barclays Bank PLC (“Barclays”), as administrative agent and co-collateral agent (in such
capacity, the “ABL DIP Admin Agent”) and Citizens Bank, N.A., as co-collateral agent
( together with Barclays, the “ABL DIP Co-Collateral Agents” and together with the
ABL DIP Admin Agent, the “ABL DIP Agents”), and the lenders thereunder
(collectively, and together with Barclays, in such capacity, the “ABL DIP Lenders”);

ii. authorization for the Debtors to enter into the ABL DIP Facility, and
approving the terms and conditions thereof, as set forth in this lnterim Order and the ABL
DIP Agreement (as defined herein) entered into, by and among the Borrower, Mattress
Holding Corp. (“Holdings”), certain U.S. subsidiaries of Holdings as guarantors, the
ABL DIP Agents, and the ABL DIP Lenders (substantially in the form attached hereto as
Exhibit 1, and as hereafter amended, restated, amended and restated, supplemented or
otherwise modified from time to time in accordance with the terms thereof and hereof,
the “ABL DIP Agreemen ,” and, together with all agreements, documents, certificates
and instruments delivered or executed from time to time in connection therewith, as
hereafter amended, restated, amended and restated, supplemented, or otherwise modified
from time to time in accordance with the terms thereof and hereof, collectively, the “AL

DIP Documents”), including, without limitation, any fee letters executed by the Debtors,

Error!

 

 

 

*_`_
CB.S€ 18-12241-€33 DOC 184 Fll€d 10/09/18 PB_Q€ 3 Of 58

the ABL DIP Agents, and the ABL DIP Lenders, as necessary (collectively, the “M
Fee Letters”);

iii. authorization for the Debtors to execute and deliver the ABL DIP
Agreement and the other ABL DIP Documents and to perform such other and further acts
as may be necessary or appropriate in connection therewith;

iv. authorization for the ABL DIP Agents to terminate the ABL DIP Agreement
in accordance with the terms thereof;

v. subject to entry of the Final Order (as defined herein), authorization to grant
liens to the ABL DIP Agents and ABL DIP Lenders on all of the proceeds or property
recovered (collectively, the “Avoidance Proceeds”) on account of the Debtors’ claims
and causes of action (but not on the actual claims and causes of action) arising under
sections 544, 545, 547, 548, and 550 of the Bankruptcy Code (collectively, the
“Avoidance Actions”);

vi. allowance of the ABL DIP Superpriority Claims (as defined herein) in favor
of the ABL DIP Agents and the ABL DIP Lenders;

vii. authorization for the Borrower to obtain a second priority senior secured
term loan debtor in possession credit facility (the “Term Loan DIP Facilitv” together
with the ABL DIP Facility, the “DIP Facilities”) consisting of up to $lGO million iii term
loan credit commitments (the commitments thereunder the “Term Loan DIP
Commitments” together with the ABL DIP Commitments, the “DIP Commitments”
and the loans thereunder the “Term DIP Loans” together with the ABL DIP Loans, the
“DIP Loans”)), provided by Barclays, as administrative agent and collateral agent (in

such capacity, the “Term Loan DIP Agen ”) (collectively, the Term Loan DIP Agent,

Error!

 

 

 

'%
CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 4 Of 58

with the ABL DIP Agents, the “DIP Agents”), and the lenders thereunder (collectively,
and together with Barclays, in such capacity, the “Term Loan DIP Lenders” and
together with the ABL DIP Lenders, the “DIP Lenders”);

viii. authorization for the Debtors to enter into the Term Loan DIP Facility, and
approving the terms and conditions thereof, as set forth in this lnterim Order and the
Term Loan DIP Agreement (as defined herein) entered into, by and among the Borrower,
Holdings, certain U.S. subsidiaries of Holdings as guarantors, the Term Loan DIP Agent,
Co-Collateral Agents and the Term Loan DIP Lenders (substantially in the form attached
hereto as Exhibit 2, and as hereafter amended, restated, amended and restated,
supplemented or otherwise modified from time to time in accordance with the terms
thereof and hereof, the “Term Loan DIP Agreement,” together with the ABL DIP
Agreement, the “DIP Agreements”) and, together with all agreements, documents,
certificates and instruments delivered or executed from time to time in connection
therewith, as hereafter amended, restated, amended and restated, supplemented, or
otherwise modified from time to time in accordance with the terms thereof and hereof,
(collectively, the “Term Loan DIP Documents” together with the ABL DIP Documents,
the “DIP Documents”), including, without limitation, any fee letters executed by the
Debtors, the Term Loan DIP Agent, and the Tenn Loan DIP Lenders, as necessary
(collectively, the “Term Loan Fee Letters” and together with the ABL Fee Letters, the
“Fee Letters”);

ix. authorization for the Debtors to execute and deliver the Term Loan DIP
Agreement and the other Term Loan DIP Documents and to perform such other and

further acts as may be necessary or appropriate in connection therewith;

Error!

 

 

 

%

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 5 Of 58

x. approving that certain DIP lntercreditor Agreement by and between the
ABL DIP Admin Agent, the Term Loan DIP Agent and the Co-Collateral Agents, as
amended and in effect from time to time (the “DIP Intercreditor Agreement”);

xi. authorization for the Term Loan DIP Agent to terminate the Term Loan DIP
Agreement in accordance with the terms thereof;

xii. subject to entry of the Final Order (as defined herein), authorization to grant
liens to the Term Loan DIP Agent and Term Loan DIP Lenders on the Avoidance
Proceeds;

xiii. allowance of the Term Loan DIP Superpriority Claims (as defined herein) in
favor of the Term Loan DIP Agent and the Term Loan DIP Lenders;

xiv. authorization, subject to the terms and provisions hereof, for the Debtors
to use, among other things, Cash Collateral (as defined herein), within the meaning of
section 363(a) of the Bankruptcy Code;

xv. the granting of adequate protection to the (a) lenders under the Prepetition
ABL Credit Agreement (as defined herein), and (b) lender under the Prepetition Second
Lien Term Loan Credit Agreement (as defined herein);

xvi. subject to and only effective upon the entry of a Final Order granting such
relief, (a) the waiver by the Debtors of any right to surcharge against the DIP Collateral
(as defined herein), including pursuant to section 506(c) of the Bankruptcy Code or
otherwise, (b) providing that the Prepetition Secured Parties are not subject to the
“equities of the case” exception contained in section 552(b) of the Bankruptcy Code, and

(c) providing that the Prepetition Secured Parties (as defined herein) are not subject to the

Error!

 

 

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 6 Of 58

equitable doctrine of “marshaling,” or any other similar doctrine with respect to the DIP
Collateral;

xvii. pursuant to Bankruptcy Rule 4001(c)(2), requesting an interim hearing on

 

the DIP Motion be held before this Court to consider entry of this interim order (the
“Interim Order”) (A) (i) authorizing the Borrower, on an interim basis, to borrow under
the ABL DIP Facility an amount not to exceed $65,000,000 (the “Interim ABL
Commitment Amount”), and (ii) authorizing the Borrower, on an interim basis, to
borrow under the Term Loan DIP Facility an amount not to exceed $100,000,000 (the
“Interim Term Loan Commitment Amount” and together with the lnterim ABL
Commitment Amount, the “Interim Order Commitment Amount”), which amounts
shall be accessed to effectuate the roll up of all existing outstanding obligations under the
Prepetition ABL Credit Agreement, and to meet the Debtors’ working capital and other
needs pending the final hearing and as set forth in the Budget (as defined herein), (B)
authorizing the Debtors’ use of Cash Collateral, and (C) granting the adequate protection
and other relief described therein;

xviii. scheduling a final hearing (the “Final Hearing”) to consider entry of a final
order (the “Final Order”) approving the DIP Motion and approving the Debtors’ notice
with respect thereto; and

xix. granting related relief.
The Court having held an interim hearing pursuant to Bankruptcy Rules 4001(b)(2) and
4001(c)(2) (the “Interim Hearing”) to consider the relief requested in the DIP Motion; and upon

the record of the lnterim Hearing and upon the Court’s consideration of the DIP Motion and all

Error!

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 7 Of 58

exhibits thereto; and upon the First Day Declaration and the Savini Declaration; and upon due
deliberation and consideration and sufficient cause appearing therefor;
THE COURT HEREBY FINDS AND CONCLUDES THAT:2

A. Petition Date: On October 5, 2018 (the “Petition Date”), each of the Debtors
filed a voluntary petition for relief under chapter ll of the Bankruptcy Code with the Court. The
Debtors have continued in the management and operation of their businesses and properties as
debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or
examiner has been appointed in the Cases. No official committee of unsecured creditors (upon
any appointment thereof, the “Committee”) as provided for under section 1102 of the
Bankruptcy Code has been appointed

B. Jurisdiction. This Court has core jurisdiction over these Cases, this DIP Motion,
and the parties and property affected hereby under 28 U.S.C. §§ 157(b) and 1334. Venue is
proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. Consideration of the DIP
Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2). This Court may enter a
final order consistent with Article lII of the United States Constitution.

C. M. The notice given by the Debtors of the DIP l\/lotion and the lnterim
Hearing was proper, timely, and adequate and sufficient notice under the circumstances and
complies with Bankruptcy Rules 4001(b) and (c).

D. Debtors’ Stipulations. Without prejudice to the rights of any other party in
interest (but subject to the limitations thereon contained in paragraph 31 below), the Debtors

admit, stipulate and agree that:

 

The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To
the extent any of the following conclusions of law constitute findings of fact, they are adopted as such.

7

 

 

"*j
CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 8 Of 58

(a) Prepetition ABL Credit Agreement and Prepetition Term Loan Credit
Agreement.

(i) The Borrower, Holdings and the Guarantors (collectively, the
“Prepetition ABL Credit Parties”), Barclays Bank PLC, as administrative agent (in
such capacities, the “Prepetition ABL Agent”), and the lenders from time to time party
thereto (the “Prepetition ABL Lenders” and, together with the Prepetition ABL Agent,
the “Prepetition ABL Secured Parties”), are party to that certain ABL Credit
Agreement, dated as of December 22, 2017 (as the same has been and may be amended,
restated, amended and restated, refinanced, replaced, supplemented, or otherwise
modified prior to the Petition Date, the “Prepetition ABL Credit Agreement”) and,
together with all agreements, documents, certificates and instruments delivered or
executed from time to time in connection therewith (including the Prepetition ABL
Security Agreement (as defined below)), as hereafter amended, restated, amended and
restated, supplemented, or otherwise modified from time to time in accordance with the
terms thereof and hereof (collectively, the “Prepetition ABL Documents”).

(ii) As of the Petition Date, the outstanding aggregate principal amount under
the Prepetition ABL Credit Agreement was not less than 8100,226,151, consisting of
$86,781,250 in revolving loans and $13,444,901 in letters of credit (together with all other
outstanding Obligations, as defined in the Prepetition ABL Credit Agreement, including interest,
fees and expenses, the “Prepetition ABL Credit Agreement Indebtedness”).

(iii) To secure the Prepetition ABL Credit Agreement Indebtedness, the
Prepetition ABL Credit Parties and the Prepetition ABL Agent entered into that certain

Security Agreement, dated as of December 22, 2017 (as amended, and together with any

Error!

 

 

 

h
CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 9 Of 58

ancillary collateral documents, the “Prepetition ABL Security Agreement”), pursuant
to which the Prepetition ABL Credit Parties granted to the Prepetition ABL Agent, for
the benefit of such agent and the Prepetition ABL Lenders, valid, binding, perfected, first
priority security interests in and continuing liens (the “Prepetition ABL Credit
Agreement Liens”) on substantially all of their assets and property including the
Collateral (as defined in the Prepetition ABL Credit Agreement), which includes, without
limitation, Mortgaged Properties (as defined in the Prepetition ABL Credit Agreement),
Pledged Collateral and Article 9 Collateral (each as defined in the Prepetition ABL
Security Agreement), all collateral as defined in any other Collateral Document (as
defined in the Prepetition ABL Credit Agreement) and Cash Collateral (as defined
herein) and all proceeds, products, accessions, rents, and profits thereof, in each case
whether then owned or existing or thereafter acquired or arising (collectively, the
“Prepetition ABL Credit Agreement Collateral”).

(iv) The Borrower, Holdings and the Guarantors (collectively, the
“Prepetition Term Loan Credit Parties” together with the Prepetition ABL Credit
Parties, the “Prepetition Credit Parties”), Steinhoff lntemational Holdings N.V., as the
second lien representative and second lien lender thereunder (the “Second Lien
Representative,” together with the Prepetition ABL Agent, the “Prepetition Agents”
and together with the Prepetition ABL Secured Parties, the “Prepetition Secured
M”), are party to that certain Term Loan Credit Agreement, dated as of March 26,
2018 (as the same has been and may be amended, restated, amended and restated,
refinanced, replaced, supplemented, or otherwise modified prior to the Petition Date, the

“Prepetition Term Loan Credit Agreement”) and, together with all agreements,

Error!

 

 

 

%
CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 10 Of 58

documents, certificates and instruments delivered or executed from time to time in
connection therewith (including the Prepetition Term Loan Security Agreement (as
defined below)), as hereafter amended, restated, amended and restated, supplemented, or

otherwise modified from time to time in accordance with the terms thereof and hereof

 

(collectively, the “Prepetition Term Loan Documents”, together with the Prepetition
ABL Documents, the “Prepetition Credit Documents”).

(v) As of the Petition Date, the outstanding aggregate principal amount
of term loans under the Prepetition Term Loan Credit Agreement was not less than
$83,016,555.31 (together with all other outstanding obligations including all accrued and
unpaid interest, fees, costs, charges, premiums and expenses, the (“Prepetition Term
Loan Credit Agreement Indebtedness” together with the Prepetition ABL Credit
Agreement lndebtedness, the “Prepetition Credit Agreement Indebtedness”)).

(vi) To secure the Prepetition Term Loan Credit Agreement
Indebtedness, the Prepetition Term Loan Credit Parties and the Second Lien
Representative entered into that certain Second Lien Security Agreement, dated as of
March 26, 2018 (as amended, and together with any ancillary collateral documents, the
“Prepetition Term Loan Security Agreement”), pursuant to which the Prepetition
Term Loan Credit Parties granted to the Second Lien Representative, for the benefit of
such representative and the lenders, valid, binding, perfected, second priority security
interests in and liens (the “Prepetition Term Loan Credit Agreement Liens” together
with the Prepetition ABL Credit Agreement Liens, the “Prepetition Credit Agreement
Lie£”) on the Prepetition ABL Credit Agreement Collateral (subject to certain excluded

collateral as set forth in the Prepetition Term Loan Security Agreement and other related

Error!

10

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 11 Of 58

collateral documents), subject in all respects to the first priority liens of the Prepetition
ABL Administrative Agent on such collateral (the “Prepetition Term Loan Credit
Agreement Collatera ” and together with the Prepetition ABL Credit Agreement
Collateral, the “Prepetition Credit Agreement Collateral”).
(vii) The Prepetition ABL Administrative Agent and the Second Lien
Representative entered into that certain Prepetition lntercreditor Agreement dated as of
March 26, 2018 (the “Prepetition Intercreditor Agreement”) to govern the respective
rights, interests, obligations, priority, and positions of the Prepetition Secured Parties
with respect to the assets and properties of the Debtors and other obligors. Each of the
Prepetition Credit Parties under the Prepetition Credit Documents acknowledged and
agreed to the Prepetition lntercreditor Agreement
(b) The Prepetition ABL Credit Agreement Indebtedness constitutes the legal,
valid and binding obligations of the Prepetition ABL Credit Parties, enforceable against them in
accordance with their respective terms (other than in respect of the stay of enforcement arising
from section 362 of the Bankruptcy Code), and no portion of the Prepetition ABL Credit
Agreement lndebtedness is subject to avoidance, recharacterization, recovery, or subordination
pursuant to the Bankruptcy Code or applicable nonbankruptcy law.
(c) The Debtors acknowledge and agree that as of the Petition Date: (i) the
Prepetition ABL Credit Agreement Liens and the Prepetition ABL Credit Agreement
Indebtedness were valid, binding, enforceable, non~avoidable, and properly perfected and were
granted to, or for the benefit of, the Prepetition ABL Lenders; (ii) the Prepetition ABL Credit
Agreement Liens were senior in priority over any and all other liens in the Prepetition ABL

Credit Agreement Collateral; (iii) no offsets, recoupments, challenges, objections, defenses,

ll

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 12 Of 58

claims, or counterclaims of any kind or nature to any of the Prepetition ABL Credit Agreement
Liens or Prepetition ABL Credit Agreement lndebtedness exist, and no portion of the Prepetition
ABL Credit Agreement Liens, Prepetition ABL Credit Agreement lndebtedness or any amounts
paid to the Prepetition ABL Secured Parties or applied to the obligations owing under the
Prepetition ABL Documents prior to the Petition Date is subject to any challenge or defense
including avoidance, disallowance, disgorgement, recharacterization, subordination (equitable or
otherwise), recovery, attack, offset, contest, objection, reclassification, reduction or counterclaim
of any kind pursuant to the Bankruptcy Code or applicable non-bankruptcy law; and (iv) the
Debtors and their estates have no claims, objections, challenges, defenses, setoff rights, causes of
action, and/or choses in action, including avoidance claims under Chapter 5 of the Bankruptcy
Code or applicable state law equivalents or actions for recovery or disgorgement, against any of
the Prepetition ABL Lenders or any of their respective affiliates, agents, attomeys, advisors,
professionals, officers, directors, and employees arising out of, based upon or related to the
Prepetition ABL Credit Agreement; and (v) the Prepetition ABL Credit Agreement lndebtedness
constitutes an allowed, secured claim within the meaning of sections 502 and 506 of the
Bankruptcy Code.

(d) The Prepetition Term Loan Credit Agreement lndebtedness constitutes the
legal, valid and binding obligations of the Prepetition Term Loan Credit Parties, enforceable
against them in accordance with their respective terms (other than in respect of the stay of
enforcement arising from section 362 of the Bankruptcy Code), and no portion of the Prepetition
Term Loan Credit Agreement lndebtedness is subject to avoidance, recharacterization, recovery,

or subordination pursuant to the Bankruptcy Code or applicable nonbankruptcy law.

12

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 13 Of 58

(e) The Debtors acknowledge and agree that as of the Petition Date: (i) the
Prepetition Term Loan Credit Agreement Liens and the Prepetition Term Loan Credit Agreement
lndebtedness were valid, binding, enforceable, non-avoidable, and properly perfected and were
granted to, or for the benefit of, the Second Lien Representative; (ii) the Prepetition Term Loan
Credit Agreement Liens were senior in priority over any and all other liens in the Prepetition
Term Loan Credit Agreement Collateral (other than the first priority Prepetition ABL Credit
Agreement Liens); (iii) no offsets, recoupments, challenges, objections, defenses, claims, or
counterclaims of any kind or nature to any of the Prepetition Term Loan Credit Agreement Liens
or Prepetition Term Loan Credit Agreement lndebtedness exist, and no portion of the Prepetition
Term Loan Credit Agreement Liens or Prepetition Term Loan Credit Agreement lndebtedness or
any amounts paid to the Second Lien Representative or applied to the obligations owing under
the Prepetition Term Loan Documents prior to the Petition Date is subject to any challenge or
defense including avoidance, disallowance, disgorgement, recharacterization, subordination
(equitable or otherwise), recovery, attack, offset, contest, objection, reclassification, reduction or
counterclaim of any kind pursuant to the Bankruptcy Code or applicable non-bankruptcy law;
(iv) the Debtors and their estates have no claims, objections, challenges, defenses, setoff rights,
causes of action, and/or choses in action, including avoidance claims under Chapter 5 of the
Bankruptcy Code or applicable state law equivalents or actions for recovery or disgorgement,
against the Second Lien Representative or any of its respective affiliates, agents, attorneys,
advisors, professionals, officers, directors, and employees arising out of, based upon or related to
the Prepetition Term Loan Credit Agreement; and (v) the Prepetition Term Loan Credit
Agreement lndebtedness constitutes an allowed, secured claim within the meaning of sections

502 and 506 of the Bankruptcy Code.

13

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 14 Of 58

(f) Subject to entry of the Final Order, each of the Debtors and the Debtors’
estates, on its own behalf and on behalf of its past, present and future predecessors, successors,
heirs, subsidiaries, and assigns hereby unconditionally, irrevocably and fully, forever waives,
discharges, and releases (i) any right to challenge any of the Prepetition Credit Agreement
lndebtedness, the priority of the Debtors’ obligations thereunder, and the validity, extent, and
priority of the liens securing the Prepetition Credit Agreement lndebtedness and (ii) each of the
Prepetition Agents and the other Prepetition Secured Parties, and each of their respective former,
current, or future officers, employees, directors, agents, representatives, owners, members,
partners, financial advisors, legal advisors, shareholders, managers, consultants, accounts,
attomeys, affiliates, and predecessors in interest of any and all Claims (as defined in section
101(5) of the Bankruptcy Code), counterclaims, causes of action, defenses or setoff rights that
exist on the date hereof relating to any of the Prepetition Credit Documents or the transactions
contemplated under such documents, whether known, unknown, asserted, unassei'ted, suspected,
unsuspected, accrued, unaccrued, fixed, contingent, pending or threatened, arising at law or in
equity, including, without limitation, any so-called “lender liability,” recharacterization,
subordination, avoidance or other claim arising under or pursuant to section 105 or chapter 5 of
the Bankruptcy Code or under any other similar provisions of state or federal law and any and all
claims and causes of action regarding the validity, priority, perfection or avoidability of the liens
or the claims of the Prepetition Secured Parties and Prepetition Agents.

(g) Prepetition lntercreditor Agreement Pursuant to section 510 of the
Bankruptcy Code, the Prepetition Intercreditor Agreement and any other applicable intercreditor
or subordination provisions contained in any of the Prepetition Credit Documents (i) shall remain

in fiill force and effect, (ii) shall continue to govern the relative priorities, rights, and remedies of

14

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 15 Of 58

the Prepetition Secured Parties (including the relative priorities, rights and remedies of such
parties with respect to the replacement liens and administrative expense claims and superpriority
administrative expense claims granted, or amounts payable, by the Debtors under this lnterim
Order or otherwise and the modification of the automatic stay), and (iii) shall not be deemed to
be amended, altered, or modified by the terms of this lnterim Order or the DIP Documents,
unless expressly set forth herein or therein. The DIP ABL Credit Facility is deemed a
“refinancing” of the First Lien Credit Agreement Obligations as such term is used in the
Prepetition Intercreditor Agreement, and the roll-up of the First Lien Credit Agreement
Obligations (as defined in the Prepetition lntercreditor Agreement) pursuant to the lnterim Order
does not constitute a “Discharge of First Lien Obligations” (as defined in the Prepetition
lntercreditor Agreement)

(h) Subject to paragraph 31 hereof, the Debtors’ acknowledgements,
stipulations and releases (as set forth in this paragraph) shall be binding on the Debtors and their
respective representatives, successors and assigns, and on each of the Debtors’ estates, all
creditors thereof and each of their respective representatives, successors and assigns, including,
without limitation, any trustee or other representative appointed in the Cases, whether such
trustee or representative is appointed in chapter 7 or chapter 11.

E. F indings Regarding DIP Facilities and Use of Cash Collateral.

(a) Good cause has been shown for the entry of this lnterim Order.

(b) The Debtors have an immediate and critical need to obtain the DIP
Facilities and to use Cash Collateral as well as other collateral to continue the operation of their
businesses. Without such funds, the Debtors will not be able to meet their payroll obligations or

to pay operating and other expenses during this critical period. The ability of the Debtors to

15

 

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 16 Of 58

finance their operations through the incurrence of new indebtedness is vital to the preservation
and maintenance of the going concern value of the Debtors’ estates and necessary to avoid
immediate and irreparable harm to the estates.

(c) The Debtors are unable to obtain sufficient financing on more favorable
terms from sources other than the DIP Lenders under the DIP Documents and are unable to
obtain adequate unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as
an administrative expense. The Debtors are also unable to obtain secured credit allowable solely
under sections 364(c)(1), 364(0)(2) and 364(c)(3) of the Bankruptcy Code.

(d) The DIP Agents and the DIP Lenders are willing to provide the DIP
Facilities, and the Prepetition Secured Parties are willing to consent to the use of their Cash
Collateral and other collateral, subject to the terms and conditions set forth in the DIP
Documents and the provisions of this lnterim Order, as applicable, and provided that the DIP
Liens, the DIP Superpriority Claims and other protections granted by this lnterim Order and the
DIP Documents will not be affected by any subsequent reversal or modification of this lnterim
Order or any other order, as provided in section 364(e) of the Bankruptcy Code, which is
applicable to the DIP Facilities and the Cash Collateral use approved by this lnterim Order. The
DIP Agents and the DIP Lenders have acted in good faith in agreeing to provide the DIP
Facilities approved by this lnterim Order and to be farther evidenced by the DIP Documents, and
the Prepetition Secured Parties have acted in good faith in consenting to the Debtors’ use of their
Cash Collateral and other collateral pursuant to the terms of this lnterim Order, and their reliance
on the assurances referred to above is in good faith.

(e) Among other things, entry of this lnterim Order will minimize disruption

of the Debtors’ businesses and operations by enabling them to meet payroll and other critical

16

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 17 Of 58

expenses, including vendor and professional fees. The DIP Facilities and the use of Cash
Collateral as set forth herein are vital to avoid immediate and irreparable loss or harm to the
Debtors’ estates, which will otherwise occur if immediate access to the DIP Facilities and to the
use of Cash Collateral is not obtained Consummation of the DIP Facilities and the use of Cash
Collateral pursuant to the terms of this lnterim Order therefore are in the best interests of the
Debtors’ estates.

(f) The DIP Documents and the use of Cash Collateral, each as authorized
hereunder, have been negotiated in good faith and at arm’s length among the Debtors, the ABL
DIP Agents, the ABL DIP Lenders, the Term Loan DIP Agent, the Term Loan DIP Lenders, the
backstop parties (the “Backstop Parties”) under that certain backstop commitment letter (the
“Backstop Commitment Letter”), the steering committee of the Backstop Parties (the
“Backstop Group”), and the Prepetition Secured Parties, respectively, among others, and the
terms of the ABL DIP Facility, the Term Loan DIP Facility and the use of Cash Collateral,
respectively, are fair and reasonable under the circumstances, reflect the Debtors’ exercise of
prudent business judgment consistent with their fiduciary duties and are supported by reasonably
equivalent value and fair consideration All of the Debtors’ obligations and indebtedness arising
under, in respect of or in connection with the DIP Facilities and the DIP Documents including
without limitation, all loans, including the roll up of the Prepetition ABL Credit Agreement
lndebtedness, made to, guarantees issued by, and all letters of credit issued (or deemed issued)
for the account of, the Debtors pursuant to the DIP Documents, and any other obligations under
the DIP Documents, including bank products and hedging obligations (individually, the “_AL
DIP Obligations” and the “Term Loan Obligations”, and collectively, the “DIP Obligations” ,

shall be deemed to have been extended by the DIP Agents and the DIP Lenders and their

17

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 18 Of 58

affiliates in good faith, as that term is used in section 364(e) of the Bankruptcy Code, and in
express reliance upon the protections offered by section 364(e) of the Bankruptcy Code, and
shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in the event that
this lnterim Order or any provision hereof is vacated, reversed or modified, on appeal.

(g) The Debtors have requested immediate entry of this lnterim Order
pursuant to Bankruptcy Rules 4001(b)(2) and (c)(2). The permission granted herein on an
interim basis to use Cash Collateral and to enter into the DIP Documents and to borrow an
amount up to the lnterim Order Commitment Amount is necessary to avoid immediate and
irreparable harm to the Debtors and their estates. This Court concludes that entry of this lnterim
Order is in the best interests of the Debtors and their estates and creditors as its implementation
will, among other things, allow the Debtors to facilitate their chapter 11 goals and maximize the
value of their assets.

(h) To the extent necessary, the Prepetition Secured Parties have either
consented to the DIP Facilities and the Debtors’ use of the Prepetition Credit Agreement
Collateral, including Cash Collateral, or their respective interests therein are being adequately
protected by, among other things, the adequate protection described by this lnterim Order. This
Court concludes that the adequate protection provided to the Prepetition Secured Parties
hereunder for, among other things, the Debtors’ incurrence of the DIP Obligations on a priming
basis, as described herein, and the Debtors’ use of the Prepetition Credit Agreement Collateral,
including Cash Collateral, is consistent with and authorized by sections 361, 362, 363, and 364
of the Bankruptcy Code.

F. Filing of Plan of Reorganization. On the Petition Date, the Debtors filed

the Joint Prepackaged Chapter 11 Plan of Reorganization for Mattress Firm, lnc. and its Debtor

18

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 19 Of 58

Affiliates (as it may be amended, modified, or supplemented from time to time, the “Plan”). The
Plan provides, among other things, that no class of claims is impaired under the Plan.

G. Exit Commitment Letter. The Debtors acknowledge and agree that the

 

exit commitment letter (“Exit Commitment Letter”), as amended, is in full force and effect as a
prepetition agreement of the Debtors; provided, for the avoidance of doubt, that administrative
expense priority with respect to claims under the Exit Commitment Letter (including, without
limitation, claims under the related exit fee letter) remains subject to entry of an order of the
Court.

H. Based on the foregoing findings, acknowledgements, and conclusions, and
upon the record made before the Court at the lnterim Hearing, and good and sufficient cause
appearing therefor:

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

1. M)proval of DIP Motion. The DIP Motion is granted on an interim basis on the

 

terms and conditions set forth in this lnterim Order and the DIP Documents; provided, however,
that if there are any inconsistencies between the terms of this lnterim Order and the DIP
Documents, the terms of this lnterim Order shall govem. Any objections or responses to the
relief requested in the DIP Motion that have not been previously resolved or withdrawn, waived
or settled are hereby overruled on the merits and denied with prejudice or, to the extent
applicable, deferred until the Final Hearing. This lnterim Order shall become effective
immediately upon its entry.
2. Authorization of DIP Facilities and DIP Documents.
(a) The Debtors are hereby authorized to execute, issue, deliver, enter into and

adopt, as the case may be, the ABL DIP Agreement, all ABL DIP Documents, the Term Loan

19

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 20 Of 58

DIP Agreement and all Term Loan DIP Documents to be delivered pursuant hereto or thereto or
in connection herewith or therewith, including, without limitation, the Budget (as defined
herein). The Borrower is hereby authorized to borrow money under the ABL DIP Facility and
the Term Loan DIP Facility, on an interim basis, up to the lnterim Order Commitment Amount.
The ABL DIP Facility and the Term Loan DIP Facility are each hereby approved on an interim
basis. The Debtors that are Guarantors are hereby authorized to guaranty such borrowings and
the other DIP Obligations, all in accordance with the terms of this lnterim Order, the DIP
Agreements, and all other DIP Documents.

(b) In furtherance of the foregoing and without further approval of this Court,
each Debtor is authorized to perform all acts, to make, execute and deliver all instruments and
documents (including, without limitation, the execution or recordation of security agreements,
mortgages and financing statements), and, without further application to the Court, to pay all fees
referred to in this lnterim Order, the ABL DIP Agreement, the ABL DIP Documents, the Term
Loan DIP Agreement and the Term Loan DIP Documents including, without limitation, the
reasonable and documented fees and out-of-pocket expenses of the professionals of the (i) DIP
Agents and the DIP Lenders, including Paul Hastings LLP, Richards, Layton & Finger LLP,
Morgan, Lewis & Bockius LLP, and Berkeley Research Group LLC, and (ii) the Backstop
Group including Latham & Watkins LLP, PJT Partners, and Ashby & Geddes, P.A. (the
“Backstop Group Professionals”) and (iii) the Prepetition ABL Secured Parties (subject to the
same procedures, including with respect to the ability to obj ect, provided for in paragraph 21(d)
regarding payment of the fees and expenses of the Prepetition Secured Parties).

(c) Subj ect to the provisions contained in paragraph 37 hereof, the Debtors are

fiirther hereby authorized to execute, deliver and perform one or more amendments or

20

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 21 Of 58

modifications to the ABL DIP Documents and/or Term Loan DIP Documents for the purpose of
adding additional financial institutions as ABL DIP Lenders and/or Term Loan DIP Lenders and
reallocating the commitments for the ABL DIP Facility among the ABL DIP Lenders and/or the
Term Loan DIP Facility among the Term Loan DIP Lenders, in each case in such form as the
Debtors, the ABL DIP Agents and the ABL DIP Lenders or the Term Loan DIP Agent and the
Term Loan DIP Lenders, as applicable, may agree (it being understood that no further approval
of this Court shall be required for non-material amendments to the ABL DIP Documents and/or
the Term Loan DIP Documents).

(d) Subject to the provisions contained in paragraph 37 hereof, material
amendments to either of the DIP Agreements or modifications of the Budget (as defined herein)
shall be filed with the Court and served upon counsel to the Committee (if any), the Prepetition
Agents, those persons who have formally appeared and requested service in the Cases pursuant
to Bankruptcy Rule 2002 and the Office of the United States Trustee for the District of Delaware
(the “U.S. Trustee”).

3. Binding Effect. Upon execution and delivery of the DIP Documents, the DIP
Documents shall constitute valid and binding obligations of the Debtors, enforceable against
each Debtor party thereto in accordance with their terms. No obligation, payment, transfer or
grant of a security or other interest under the DIP Documents or this lnterim Order shall be
stayed, restrained, voidable, or recoverable under the Bankruptcy Code or any applicable law
(including, without limitation, under section 502(d) of the Bankruptcy Code), or subject to any

defense, reduction, set-off, recoupment or counterclaim

21

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 22 Of 58

4. ABL DIP Loans and Roll-Up.

(a) All loans made or monies advanced under the ABL DIP Facility to or for the
benefit of the ABL DIP Loan Parties on or after the Petition Date including, without limitation,
loans made or monies advanced or deemed advanced under or in connection with the ABL DIP
Facility, shall (a) be evidenced by the books and records of the ABL DIP Admin Agent; (b) bear
interest payable at the rates set forth in the ABL DIP Agreement; (c) be secured in the manner set
forth in this lnterim Order and in the ABL DIP Documents; (d) be payable in accordance with
the terms of the ABL DIP Documents; and (e) otherwise be governed by the terms set forth in
this lnterim Order and in the ABL DIP Documents.

(b) The Pre-Petition Revolving Loans (as defined in the ABL DIP Agreement)
outstanding as of the Petition Date under the Prepetition ABL Credit Agreement constitute a
portion of the Revolving DIP Loans outstanding under the ABL DIP Facility. F or all purposes of
the ABL DIP Documents, the sum of the Pre-Petition Revolving Loans and any other Revolving
DIP Loans made on the Closing Date shall constitute all of the Revolving DIP Loans outstanding
on the Closing Date. Each Pre-Petition Letter of Credit (as defined in the ABL DIP Agreement)
shall constitute a “Letter of Credit” for all purposes of the ABL DIP Documents and shall be
deemed issued under the ABL DIP Agreement as of the Closing Date. All Pre-Petition Letter of
Credit Borrowings (as defined in the ABL DIP Agreement) shall constitute “Letter of Credit
Borrowings” for all purposes of the ABL DIP Documents.

5. Use of ABL DIP Loans. Subject to the terms and conditions of this lnterim Order
and the ABL DIP Agreement (including, without limitation, satisfaction of the conditions
precedent to borrowing set forth therein), an amount not to exceed $65,000,000 of the ABL DIP

Loans shall be available on or after the Closing Date and shall be used by the Borrower, in each

22

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 23 Of 58

case in accordance with the Budget (as defined herein) to (a) roll up all outstanding Prepetition
ABL Credit Agreement lndebtedness as set forth in the ABL DIP Agreement and Paragraph 4(b)
of this Order, (b) fund general corporate needs, including, without limitation, working capital
needs, (c) pay administrative expenses of the Cases, including reasonable fees and expenses of
professionals, and (d) pay any prepetition obligations authorized to be paid pursuant to any “First
Day Order” entered by the Court.

6. Term DIP Loans. All loans made or monies advanced under the Term Loan DIP
Facility to or for the benefit of the Term DIP Loan Parties on or after the Petition Date including,
without limitation, loans made or monies advanced or deemed advanced under or in connection
with the Term Loan DIP Facility, shall: (a) be evidenced by the books and records of the Term
Loan DIP Agent; (b) bear interest payable at the rates set forth in the Term Loan DIP
Agreement; (c) be secured in the manner set forth in this lnterim Order and in the Term Loan
DIP Documents; (d) be payable in accordance with the terms of the Term Loan DIP Documents;
and (e) otherwise be governed by the terms set forth in this lnterim Order and in the Term Loan
DIP Documents.

7. Use of Term DIP Loans. Subject to the terms and conditions of this lnterim Order
and the Term Loan DIP Agreement (including, without limitation, satisfaction of the conditions
precedent to borrowing set forth therein), the proceeds of the Term DIP Loans shall be available
on or after the Closing Date and shall be used by the Borrower, in each case in accordance with
the Budget (as defined herein) to (a) repay in full all outstanding Prepetition ABL Obligations, as
such Prepetition ABL Obligations may be rolled up as provided herein and in the ABL DIP
Facility, (b) fund general corporate needs, including, without limitation, working capital needs,

(c) pay administrative expenses of the Cases, including reasonable fees and expenses of

23

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 24 Of 58

professionals, and (d) pay any prepetition obligations authorized to be paid pursuant to any “First
Day Order” entered by the Court, in each case, in accordance with the Budget (as defined
herein).

8. Payment of DIP Fees and Expenses. The Fee Letters are hereby approved.
Immediately upon entry of this lnterim Order, the Debtors are authorized to pay or otherwise
incur all fees, expenses, and other amounts payable under the Fee Letters and under the terms of
the ABL DIP Agreement, any other ABL DIP Documents, the Term Loan DIP Agreement and
any other Term Loan DIP Documents including, without limitation, the commitment fee, the
upfront fee, the backstop premium, the arranger fee, and any letter of credit fees (collectively, the
“DIP Fees”) as well as all reasonable and documented out-of-pocket costs and expenses of the
DIP Agents and the DIP Lenders in accordance with the terms of the DIP Agreements including,
without limitation, the Backstop Group Professionals (collectively, the “Expenses”). The DIP
Fees and Expenses approved pursuant to this paragraph shall include, without limitation, the
reasonable and documented prepetition and postpetition fees and expenses of counsel and
financial advisors retained by the DlP Agents including the DIP Lenders and the Backstop Group
(including the Backstop Professionals) associated with the arrangement, preparation, execution,
delivery and administration of the DIP Documents (and any amendment or waiver with respect
thereto), the Exit Commitment Letter, the Backstop Commitment Letter, the Plan and the Cases
and, subject to the same procedures provided in paragraph 21(d) regarding payment of the fees
and expenses of the Prepetition Secured Parties, none of the DIP Fees and Expenses shall be
subject to Court approval or the U.S. Trustee guidelines, and no recipient of any such payment
shall be required to file any interim or final fee application with this Court with respect to such

fees and expenses ln addition, the Debtors are hereby authorized to indemnify the DIP Agents,

24

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 25 Of 58

the DIP Lenders, and their respective affiliates and other parties, as provided in the DIP
Agreements. All fees and expenses approved pursuant to this paragraph shall constitute DIP
Obligations and the repayment thereof shall be secured by the DIP Collateral and afforded all of
the priorities and protections afforded to the DIP Obligations under this lnterim Grder and the
DIP Documents. The Debtors are hereby authorized to pay all DIP Fees and Expenses in
accordance with the DIP Documents.

9. ABL DIP Superpriority Claims. Pursuant to section 364(c)(1) of the Bankruptcy
Code, all of the ABL DIP Obligations shall constitute allowed claims against the Debtors with
priority over any and all administrative expenses, diminution claims (including all Adequate
Protection Provisions (as defined herein)), and all other claims against the Debtors, now existing
or hereafter arising, of any kind whatsoever, including, without limitation, all administrative
expenses or other claims arising under sections 105, 326, 328, 330, 331, 503(b), 506(0), 507(a),

507(b), 546(c), 726, 1113 or 1114 or any other provision of the Bankruptcy Code (the “ABL DIP

 

Su e riorit Claims”), .

, which allowed claims shall be

 

payable from and have recourse to all prepetition and postpetition property of the Debtors and
their estates and all proceeds thereof, subject only to the Carve Out.

10. Term Loan DIP Superpriority Claims. Pursuant to section 364(c)(1) of the
Bankruptcy Code, all of the Term Loan DIP Obligations shall constitute allowed superpriority
administrative expense claims against the Debtors with priority over any and all administrative
expenses, diminution claims (including all Adequate Protection Provisions (as defined herein)),
and all other claims against the Debtors, now existing or hereafter arising, in these Cases or a

Successor Case (as defined herein), of any kind whatsoever, including, without limitation, all

25

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 26 Of 58

administrative expenses or other claims arising under sections 105, 326, 328, 330, 331, 503(b),
506(c), 507(a), 507(b), 546(c), 726, 1113 or 1114 or any other provision of the Bankruptcy Code
(the “Term Loan DIP Superpriority Claims” and together with the ABL DIP Superpriority

Claims, the “DIP Superpriority Claims”)),

 

allowed claims shall be payable from and have recourse to all prepetition and postpetition

property of the Debtors and their estates and all proceeds thereof`, subject only to the Carve Out
and the ABL DIP Superpriority Claims.
11. Carve Out.

(a) For purposes hereof, the “Carve Out” means the sum of (i) all fees
required to be paid to the Clerk of the Court and to the Office of the United States Trustee under
section 1930(a) of title 28 of the United States Code plus interest at the statutory rate (without
regard to the notice set forth in (iii) below); (ii) all reasonable fees and expenses up to $50,000
incurred by a trustee under section 726(b) of the Bankruptcy Code (without regard to the notice
set forth in (iii) below); (iii) to the extent allowed at any time, whether by interim order,
procedural order, or otherwise, unpaid fees and expenses, which shall not exceed $5,000,000 in
the aggregate (the “Allowed Professional Fees”) incurred by persons or firms retained by the
Debtors pursuant to sections 327 or 328 of the Bankruptcy Code (the “Debtor Professionals”)
and the Committee (if appointed), pursuant to sections 328 or 1103 of the Bankruptcy Code and,
with respect to Committee professionals (the “Committee Professionals”) and the Debtor
Professionals (together with the Committee Professionals, the “Professional Persons”) at any
time before or on the first business day following delivery by a Creditor Representative of a

Carve Out Trigger Notice (as defined herein), whether allowed by the Court prior to or after

26

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 27 Of 58

delivery of a Carve Out Trigger Notice; provided, that all fees including, without limitation, any
success fee, restructuring fee, transaction fee, sales fee or similar fees incurred and/or earned by
Guggenheim Securities, LLC (excluding their monthly fees), AlixPartners LLP (excluding their
hourly fees), A&G Realty Partners, and Gordon Brothers Retail Partners LLC during these Cases
shall not be (a) included in the Carve Out, and (b) paid prior to the payment in full, in cash, of all
DIP Obligations, and (iv) Allowed Professional Fees of Professional Persons in an aggregate
amount not to exceed $2,000,000 incurred after the first business day following delivery by one
of the Creditor Representatives of the Carve Out Trigger Notice, to the extent allowed at any
time, whether by interim order, procedural order, or otherwise (the amounts set forth in this
clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the foregoing,
“Carve Out Trigger Notice” shall mean a written notice delivered by e-mail (or other electronic
means) by any of the ABL DIP Agent, the Term Loan DIP Agent, or Term Loan DIP Lenders
holding outstanding Term Loan DIP Obligations representing more than 50% of all Term Loan
DIP Obligations outstanding at such time (each, a “Creditor Representative”) to the Debtors,
their lead restructuring counsel, the U.S. Trustee, and counsel to the Committee, which notice
may be delivered following the occurrence and during the continuation of an Event of Default
and acceleration of the DIP Obligations under the ABL DIP Facility and/or the Term Loan DIP
Facility, stating that the Post-Carve Out Trigger Notice Cap has been invoked.

(b) Carve Out Reserves. On the day on which a Carve Out Trigger Notice is
given by a Creditor Representative to the Debtors (the “Termination Declaration Date”), the
Carve Out Trigger Notice shall (i) be deemed a draw request and notice of borrowing by the
Debtors for ABL DIP Loans under the ABL DIP Credit Agreement, in an amount equal to the

then unpaid amounts of the Allowed Professional Fees (any such amounts actually advanced

27

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 28 Of 58

shall constitute ABL DIP Loans), as provided for in paragraph 11(a)(iii) of the Carve Out and
(ii) also constitute a demand to the Debtors to utilize all cash on hand as of such date and any
available cash thereafter held by any Debtor to fund a reserve in an amount equal to the then
unpaid amounts of the Allowed Professional Fees (which collectively under paragraph ll(b)(i)
and ll(b)(ii) shall not exceed $5,000,000). The Debtors shall deposit and hold such amounts in
a segregated account at the ABL DIP Agents in trust to pay such then unpaid Allowed
Professional Fees (the “Pre-Carve Out Trigger Notice Reserve”) prior to any and all other
claims. On the Termination Declaration Date, the Carve Out Trigger Notice shall also be
deemed a request by the Debtors for ABL DIP Loans under the ABL DIP Agreement (on a pro
rata basis based on the then outstanding ABL DIP Loans), in an amount equal to the Post-Carve
Out Trigger Notice Cap (any such amounts actually advanced shall constitute ABL DIP
Loans). The Debtors shall deposit and hold such amounts in a segregated account at the ABL
DIP Agents in trust to pay such Allowed Professional Fees benefiting from the Post-Carve Out
Trigger Notice Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the Pre-
Carve Out Trigger Notice Reserve, the “Carve Out Reserves”) prior to any and all other claims,
and the $7,000,000 in Carve Out Reserves shall reduce the Borrowing Base (as provided for in
the ABL DIP Agreement, and such term is defined therein) immediately upon entry of the
lnterim Order. On the first business day after the ABL DIP Agents give such notice to such
ABL DIP Lenders, notwithstanding anything in the DIP Agreement to the contrary, including
with respect to the existence of a Default (as defined in the ABL DIP Agreement) or Event of
Default, the failure of the Debtors to satisfy any or all of the conditions precedent for ABL DIP
Loans under the ABL DIP Facility, any termination of the ABL DIP Loan Commitments

following an Event of Default, or the occurrence of the Maturity Date, each ABL DIP Lender

28

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 29 Of 58

with an outstanding ABL DIP Loan Commitment (on a pro rata basis based on the then
outstanding ABL DIP Loan Commitments) shall make available to the ABL DIP Agents such
ABL DlP Lender’s pro rata share with respect to such borrowing in accordance with the ABL
DIP Facility; provided, however, that notwithstanding anything to the contrary in this paragraph
11, no ABL DIP Lender shall be required to make ABL DIP Loans in excess of its ABL DIP
Loan Commitment. All funds in the Pre-Carve Out Trigger Notice Reserve shall be used first to
pay the obligations set forth in clauses (i) through (iii) of the definition of Carve Out set forth
above (the “Pre-Carve Out Amounts”), but not, for the avoidance of doubt, the Post-Carve Out
Trigger Notice Cap, until paid in full, and then, to the extent the Pre-Carve Out Trigger Notice
Reserve has not been reduced to zero, to pay the ABL DIP Agents for the benefit of the ABL
DIP Lenders, unless the ABL DIP Obligations have been indefeasibly paid in full, in cash and all
ABL DIP Loan Commitments have been terminated, in which case any such excess shall be paid
to the Term Loan DIP Agent for the benefit of the Term DIP Lenders in accordance with their
rights and priorities as of the entry of this lnterim Order. All funds in the Post-Carve Gut
Trigger Notice Reserve shall be used first to pay the obligations set forth in clause (iv) of the
definition of Carve Out set forth above (the “Post-Carve Out Amounts”), and then, to the
extent the Post-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay the ABL
DIP Agents for the benefit of the ABL DIP Lenders, unless the ABL DIP Obligations have been
indefeasibly paid in full, in cash and all ABL DIP Loan Commitments have been terminated, in
which case any such excess shall be paid to the Term Loan DIP Agent for the benefit of the
Term Loan DIP Lenders. Notwithstaiiding anything to the contrary in the ABL DIP Documents
or this lnterim Order, if either of the Carve Out Reserves is not funded in full in the amounts set

forth in this paragraph 11, then, any excess funds in one of the Carve Out Reserves following the

29

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 30 Of 58

payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be
used to fund the other Carve Out Reserve, up to the applicable amount set forth in this paragraph
11, prior to making any payments to the ABL DIP Agents or the Term Loan DIP Agent, as
applicable Notwithstanding anything to the contrary in the ABL DIP Documents, this lnterim
Order, or the Final Order, following delivery of a Carve Out Trigger Notice, the ABL DIP
Agents and the Term Loan DIP Agent shall not sweep or foreclose on cash (including cash
received as a result of the sale or other disposition of any assets) of the Debtors until the Carve
Out Reserves have been fully funded, but shall have a security interest in any residual interest in
the Carve Out Reserves, with any excess paid to the ABL DIP Agents for application in
accordance with the ABL DIP Documents and thereafter to the Term Loan DIP Agent for
application in accordance with the Term Loan DlP Documents. Further, notwithstanding
anything to the contrary in this lnterim Order, (i) disbursements by the Debtors from the Carve
Out Reserves shall not constitute Loans (as defined in the ABL DIP Agreement) or increase or
reduce the ABL DIP Obligations, (ii) the failure of the Carve Out Reserves to satisfy in full the
Allowed Professional Fees shall not affect the priority of the Carve Out, and (iii) in no way shall
the Budget, Carve Out, Post-Carve Out Trigger Notice Cap, Carve Out Reserves, or any of the
foregoing be construed as a cap or limitation on the amount of the Allowed Professional Fees
due and payable by the Debtors. For the avoidance of doubt and notwithstanding anything to the
contrary herein or in the ABL DIP Agreement, or in the Term Loan DIP Agreement, the Carve
Out shall be senior to all liens and claims securing the DIP Facilities, the DIP Liens, the DIP
Superpriority Claims, and the Adequate Protection Liens, and any and all other forms of
adequate protection, liens, or claims securing the DIP Obligations or the Prepetition Credit

Agreement lndebtedness

30

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 31 Of 58

(c) No Direct Obligation To Pav Allowed Professional Fees; No Waiver of
Right to Object to Fees. The DIP Agents and the DIP Lenders shall not be responsible for the
payment or reimbursement of any fees or disbursements of any Professional Person incurred in
connection with the Cases or any Successor Case (as defined herein) under any chapter of the
Bankruptcy Code. Nothing in this lnterim Order or otherwise shall (a) be construed to obligate
the DIP Agents or the DIP Lenders, in any way, to pay compensation to, or to reimburse
expenses of, any Professional Person or to guarantee that the Debtors have sufficient funds to
pay such compensation or reimbursement or (b) require any DIP Lender to make DIP Loans in
excess of its DIP Commitment Notwithstanding any provision in this Paragraph 11 to the
contrary, no portion of the Carve-Out, any Cash Collateral, any DIP Collateral, any proceeds of
the DIP Facilities or any unencumbered assets (or the proceeds thereof) that are subject to the
DIP Superpriority Claims (including any disbursements set forth in the Budget or obligations
benefitting from the Carve-Out) shall be utilized for the payment of professional fees and
disbursements to the extent restricted under Paragraph 34 hereof. Nothing herein shall be
construed as consent to the allowance of any professional fees or expenses of any of the Debtors,
any Committee, any other official or unofficial committee in these Cases or any Successor Case
(as defined herein) or of any other person or entity, or shall affect the right of the DIP Agents or
the DIP Lenders to object to the allowance and payment of any such fees and expenses

(d) Payment of Allowed Professional Fees Prior to Termination Declaration
Mte. Any payment or reimbursement made prior to the occurrence of the Termination
Declaration Date in respect of any Allowed Professional Fees shall not reduce the Carve Out.

(e) Payment of Carve Out On or After Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

31

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 32 Of 58

in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-
for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of, the ABL
DIP Obligations secured by the ABL DIP Collateral and shall be otherwise entitled to the
protections granted under this lnterim Order, the ABL DIP Documents, the Bankruptcy Code,
and applicable law.

12. DIP Liens. As security for the ABL DIP Obligations and Term Loan DIP
Obligations, effective and perfected automatically upon the date of this lnterim Order and
without the necessity of the execution by the Debtors (or recordation or other filing) of security
agreements, control agreements, pledge agreements, financing statements, mortgages or other
similar documents, or the possession or control by the DIP Agents of any DIP Collateral (as
defined herein), the following security interests and liens (all such liens and security interests
granted to the ABL DIP Admin Agent and Term Loan DIP Agent, for its respective benefit and
for the benefit of their respective ABL DIP Lenders and Term Loan Lenders, pursuant to this
lnterim Order and the DIP Documents, (the “DIP Liens”) are hereby granted to the ABL DIP
Agents and Term Loan DIP Agent, for their respective benefit and the benefit of the ABL DIP
Lenders and Term Loan DIP Lenders:

(a) pursuant to section 364(d) of the Bankruptcy Code, perfected senior
priming liens on all assets securing the Prepetition Credit Agreement Indebtedness, regardless of
whether any lien or any security interest securing or purporting to secure the Prepetition Credit
Agreement lndebtedness is valid or invalid, perfected or unperfected, or avoidable or non-
avoidable, subject to all perfected non-avoidable senior pre-existing liens as of the Petition Date;

(b) pursuant to section 364(0)(2) of the Bankruptcy Code, perfected senior

liens on all assets of the Debtors not subject to a valid, perfected, and non-avoidable lien in

32

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 33 Of 58

existence as of on the Petition Date (or as such lien may be perfected after the Petition Date to
the extent permitted by section 546 of the Bankruptcy Code) including, and effective upon entry
of a Final Order, the Avoidance Proceeds; and

(c) pursuant to section 364(0)(3) of the Bankruptcy Code, perfected junior
security interests on other assets of the Debtors subject to permitted liens (excluding the
Prepetition Credit Agreement Liens) on the Petition Date (the assets referenced in clauses (a)-(c)
of this Section 12 collectively, the “DIP Collateral”).

For the avoidance of doubt, all DIP Liens securing ABL DlP Obligations are senior in
priority to all DIP Liens securing Term Loan DIP Obligations, and each of the DIP Agents, the
DIP Lenders and the Debtors are bound by the DIP lntercreditor Agreement.

13. The DIP Collateral includes all tangible and intangible prepetition and
postpetition property and interests in property of the Debtors, whether existing on or as of the
Petition Date or thereafter acquired, including, without limitation, (i) all accounts, chattel paper,
deposit accounts, documents, equipment, general intangibles, intellectual property, instruments,
insurance, inventory, investment property, letter-of-credit rights, money and any supporting
obligations related thereto; (ii) all commercial tort claims; (iii) all books and records pertaining
to the DIP Collateral; (iv) all property of any Prepetition Credit Party held by the ABL DIP
Agents, the ABL DIP Lenders, any ABL Prepetition Secured Party, the Term Loan DIP Agent,
Term Loan DIP Lenders or the Second Lien Representative, including all property of every
description, in the custody of or in transit to the DIP Agents, the DIP Lenders or any ABL
Prepetition Secured Party or the Second Lien Representative for any purpose, including
safekeeping, collection or pledge, for the account of such party or as to which such party may

have any right or power, including, but not limited to cash; (v) all other goods (including, but not

33

 

 

 

 

Error!

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 34 Of 58

limited to, fixtures) and personal property, whether tangible or intangible and wherever located;
(vi) all owned real property interests, and to the extent subject to a prepetition mortgage in favor
of the Prepetition ABL Administrative Agent, leased real property (including, for the avoidance
of doubt, any ground leases) and all proceeds of all other leased property;3 (vii) any lndebtedness
of any Restricted Subsidiary that is not an ABL DIP Loan Party owing to an ABL DIP Loan
Party or a Term Loan DIP Loan Party owing to a Term Loan DIP Loan Party postpetition
evidenced by one or more promissory notes (which may be a global intercompany note) in form
and substance reasonably acceptable to the ABL DIP Agents and/or Term Loan DIP Agent; (viii)
actions brought under section 549 of the Bankruptcy Code to recover any post-petition transfer
of DIP Collateral; and (ix) all proceeds of the foregoing, plus all Prepetition Credit Agreement
Collateral. Subject to and effective only upon entry of the Final Order, the DIP Collateral shall
include the Avoidance Proceeds, which includes any proceeds or property recovered,
unencumbered or otherwise that is the subject of successful Avoidance Actions, whether by
judgment, settlement, or otherwise.

14. Notwithstanding anything herein to the contrary, the DIP Liens shall be
subordinate to the Carve Out.

15. Remedies. (a) Any automatic stay otherwise applicable to the DIP Agents and the
DIP Lenders is hereby modified, without requiring prior notice to or authorization of this Court,
to the extent necessary to permit the DIP Agents and the DIP Lenders to (i) declare all DIP
Obligations to be due and payable, (ii) declare the termination, reduction, or restriction of any

further commitment to extend credit to the Debtors, to the extent any such commitment remains,

 

For the avoidance of doubt and notwithstanding anything to the contrary contained herein, unless otherwise
expressly permitted by the terms of the applicable lease, any liens granted under this lnterim Order shall not
include the Debtors’ real property leases (including, for the avoidance of doubt, any ground leases), but shall
include the proceeds from the disposition of all such leases.

34

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 35 Of 58

and/or (iii) terminate the applicable DIP Documents as to any future liability or obligation of the
DIP Agents and the DIP Lenders, but without affecting any of the DIP Obligations or the DIP
Liens securing the DIP Obligations.

(b) ln addition to the rights and remedies described above, upon not less than five
(5) business days’ prior written notice to the Debtors (with a copy to counsel to each of the
Prepetition Agents, the Committee, if any, and the U.S. Trustee) following the occurrence and
continuance of an Event of Default (as defined in paragraph 33), the DIP Agents are hereby
granted relief from the automatic stay provisions of section 362 of the Bankruptcy Code without
further notice, hearing, motion, order or together action of any kind, to foreclose on, or otherwise
enforce and realize on, their DIP Liens on all or any portion of the DIP Collateral, including by
collecting accounts receivable and applying the proceeds thereof to the applicable DIP
Obligations, and by occupying the Debtors’ premises (subject to paragraph 15(c) below) to sell
or otherwise dispose of the DIP Collateral, with the exercise of remedies as among the ABL DIP
Agent and Term Loan DlP Agent being subject to the lntercreditor Agreement Solely during
the foregoing five (5) business day period objections may be raised by the parties receiving
written notice; however, the only issue that may be raised by the Debtors in opposition to the
exercise of rights and remedies shall be whether an Event of Default has in fact occurred and is
continuing, and other than as set forth in the prior clause of this proviso, the Debtors hereby
waive their right to seek any relief, whether under section 105 of the Bankruptcy Code or
otherwise, that would in any way impair, limit or restrict, or delay the exercise or benefit of, the
rights and remedies of the DIP Agents and the DIP Lenders under the DIP Documents or this
lnterim Order; provided, further that during such five (5) day period, the Debtors may not use

Cash Collateral except to pay regular payroll and other expenses critical to keep the business of

35

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 36 Of 58

the Debtors operating in accordance with the Budget. Except as expressly provided herein, any
exercise of remedies by one or more of the DIP Agents is subject to the DIP lntercreditor
Agreement

(c) Notwithstanding anything contained herein to the contrary, and without
limiting any other rights or remedies of the DIP Agents and the DIP Lenders contained in this
lnterim Order or the DlP Documents, or otherwise available at law or in equity, and subject to
the terms of the DIP Documents, upon five business days’ written notice to the Debtors and any
landlord, lienholder, licensor, or other third party owner of any leased or licensed premises or
intellectual property that a Cash Collateral Termination Event has occurred and is continuing, the
DIP Agents (i) may, unless otherwise provided in any separate agreement by and between the
applicable landlord or licensor and the DIP Agents (the terms of which shall be reasonably
acceptable to the parties thereto), enter upon any leased or licensed premises of the Debtors for
the purpose of exercising any remedy with respect to any DIP Collateral located thereon and (ii)
shall be entitled to all of the Debtors’ rights and privileges as lessee or licensee under the
applicable license and to use any and all trademarks, trade names, copyrights, licenses, patents,
or any other similar assets of the Debtors that are owned by or subject to a Lien of any third party
and that are used by Debtors in their businesses, in the case of either subparagraph (i) or (ii) of
this Paragraph 15(b) without interference from lienholders or licensors thereunder, subject to
such lienholders’ or licensors’ rights under applicable law; provided, however, the DIP Agents
and DIP Lenders can only enter onto any leased premises after a Cash Collateral Termination
Event has occurred and is continuing, in accordance with (i) a separate agreement with the
landlord of the applicable leased premises; (ii) upon entry of an order of this Court after the

filing of a motion and appropriate notice and an opportunity for landlords to object and be heard;

36

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 37 Of 58

or (iii) as permitted by applicable law; provided, furt_her, that the DIP Agents, on behalf of the
DIP Lenders, shall pay only rent and additional rent, fees, royalties, or other monetary
obligations of the Debtors that first arise after the written notice referenced above from the DIP
Agents and that accrue during the period of such occupancy or use by such DIP Agent calculated
on a per diem basis. Nothing herein shall require the Debtors, the DIP Agents, or the other DIP
Lenders to assume any lease, license or other contract under Bankruptcy Code section 365(a) as
a precondition to the rights afforded to the DIP Agents and the DIP Lenders in this Paragraph
15(c).

16. _Bu_dg_e_t. For purposes of this lnterim Order, the term “Mg_et,” attached hereto as
Exhibit 3, means the 13-week cash flow forecast detailing cash receipts, cash disbursements,
inventory levels and accrued and unpaid professional fees on a weekly basis for such weekly
period on a regional and consolidated basis, in each case consistent with the manner in which
such information is presented in the Budget filed with the Bankruptcy Court on the lnterim Order
Date, and in form and substance acceptable to the ABL DIP Agents and the Term Loan DIP
Agent, acting at the direction of the DIP Lenders, in each case, in their sole and absolute
discretion. The “Budget” shall initially refer to the Budget delivered by Borrower on the Closing
Date and thereafter shall refer to the Budget delivered by Borrower pursuant to Section 7.1(h) of
the ABL DIP Agreement. On each Friday on or before 5:00 p.m., New York City time, delivery
of the following will be made to the ABL DIP Agents and the Term Loan DIP Agent and the
DIP Lenders: (a) the DIP Loan Parties’ rolling 13-week cash flow projections (together with a
reporting package which shall include a weekly and cumulative budget variance (as compared to
the Budget in effect on the Petition Date and the Budget in effect immediately prior to such

updated proj ections) discussion and such other information related to any budget variances as the

37

 

 

Errorl

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 38 Of 58

ABL DIP Agents or the Term Loan DIP Agent may reasonably request) (which may be updated
at the reasonable request of the ABL DIP Lenders or the Term Loan DIP Lenders); and
(b) certification that no proceeds of the ABL Revolving Loans or the Term DIP Loans have been
used for purposes other than as set forth in the Budget.

17. Budget Covenants.

(d) Except as otherwise provided in the DIP Agreements or approved by the
DIP Agents and their respective Requisite Lenders (and regardless of whether or not a Carve Out
Trigger Notice has been delivered), Borrower and its Subsidiaries shall not, directly or indirectly
(i) use any cash or the proceeds of any DIP Loans in a manner or for a purpose other than those
consistent with the DIP Agreements, this lnterim Order, the Final Order, and the Budget (and
any variances permitted thereunder), (ii) permit a disbursement causing any variance other than
any variances permitted thereunder without the prior written consent of the ABL DIP Agents and
the Requisite Lenders or (iii) make any payment (as adequate protection or otherwise), or
application for authority to pay, on account of any claim or lndebtedness arising prior to the
Petition Date other than payments set forth in the Budget and authorized by the Bankruptcy
Court.

(e) Prior to the occurrence of an Event of Default, Borrower shall be
permitted to pay compensation and reimbursement of fees and expenses of Professional Persons
solely to the extent that such fees and expenses are in accordance with the Budget and authorized
to be paid under sections 330 and 331 of the Bankruptcy Code pursuant to an order of the Court,
as the same may be due and payable. Upon the occurrence of an Event of Default and delivery
of a Carve Out Trigger Notice, the right of Borrower to pay professional fees of Professional

Persons outside the Carve Out shall terminate, and Borrower shall provide immediate notice to

38

 

 

Error!

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 39 Of 58

all Professional Persons informing them that Borrower’s ability to pay such Professional Persons
is subject to and limited by the Carve Out.
(f) Following the Petition Date: (i) total operating expenses or disbursements
(excluding interest expense and professional fees and expenses) paid by the Loan Parties shall
not exceed the amounts in the Budget by more than (a) 17.5% for the period through October 12,
2018, calculated on a cumulative basis for such period, (b) 15% for the period through October
19, 2018, calculated on a cumulative basis for such period, (c) 12.5% for the period through
October 26, 2018, calculated on a cumulative basis for such period, and (d) 10% at all times
thereafter, in each case on a rolling four week cumulative basis; (ii) sales receipts shall not be
less than (a) 90% of the amounts in the DIP Budget, solely during each of the first two weeks
ending after the Petition Date, calculated on a cumulative basis for such one or two week period,
(b) 90% of the amounts in the DIP Budget during the succeeding week, calculated on a
cumulative basis for such three week period, and (c) at all times thereafter, 90% of the amounts
in the DIP Budget calculated on a rolling four week cumulative basis; and (iii) inventory levels
shall not be less than (a) 90% of the amounts in the DIP Budget, solely during each of the first
two weeks ending after the Petition Date, calculated on a cumulative basis for such one or two
week period, (b) 90% of the amounts in the DIP Budget during the succeeding week, calculated
on a cumulative basis for such three week period, and (c) at all times thereafter, 90% of the
amounts in the DIP Budget, calculated on a rolling four week cumulative basis.
18. Limitation on Charging Expenses Against DIP Collateral Subject to and
effective only upon entry of the Final Order, no expenses of administration of the Cases or any
future proceeding that may result therefrom, including a case under chapter 7 of the Bankruptcy

Code, shall be charged against or recovered from the DIP Collateral pursuant to section 506(c) of

39

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 40 Of 58

the Bankruptcy Code, the enhancement of collateral provisions of section 552 of the Bankruptcy
Code, or any other legal or equitable doctrine (including, without limitation, unjust enrichment)
or any similar principle of law, without the prior written consent of the DIP Agents, and no
consent shall be implied from any action, inaction or acquiescence by the ABL DIP Agents, the
ABL DIP Lenders, the Term Loan DIP Agent, the Term Loan DIP Lenders, or the Prepetition
Secured Parties. Subj ect to and effective only upon entry of the Final Order, in no event shall the
DIP Agents, the DIP Lenders, or the Prepetition Secured Parties be subject to (a) the “equities of
the case” exception contained in section 552(b) of the Bankruptcy Code or (b) the equitable
doctrine of “marshaling,” or any other similar doctrine with respect to the DIP Collateral.

19. Cash Collateral. All cash and cash equivalents of the Debtors, whenever and
wherever acquired, and the proceeds of all DIP Loans and DIP Collateral constitute cash
collateral as contemplated by section 363 of the Bankruptcy Code (the “Cash Collateral”).
Subject to the terms of this lnterim Order and the Budget, the Debtors are hereby authorized to
use all Cash Collateral in which the Prepetition Agents or any other Prepetition Secured Party
has, and in which the DIP Agents and DIP Lenders have, a perfected security interest as of the
Petition Date or at any time thereafter, including any cash on deposit in any deposit account or
other account over which any the Prepetition Agents or DIP Agents have control.

20. Use of Cash Collateral. Cash Collateral may be used only (a) to roll up all
obligations under the Prepetition ABL Credit Agreement; (b) to pay the Adequate Protection
Provisions, (c) to pay the DIP Obligations, including, without limitation, to pay principal,
interest, reimbursement obligations on account of letters of credit, fees, costs and expenses under
the DIP Facilities; (d) for working capital and other general corporate purposes of the Debtors in

accordance with the Budget and the DIP Documents; (e) to pay the allowed administrative costs

40

 

 

Error!

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 41 Of 58

and expenses of the Cases; (f) to pay prepetition obligations authorized pursuant to “First Day

Orders;” and with respect to (d), (e), and (f) above, solely in accordance with the Budget,')the
DIP Documents, and this lnterim Order;;©€` l`\l\» <'”t`r`¥é;f‘~`\/`J*€{ CIW`M$B H? ila COURT
write N© § ZN`<N@,

21. Prepetition Secured Parties’ Adequate Protection. The Prepetition Secured Parties
are entitled, until the indefeasible repayment in full in cash of (i) in the case of the Prepetition
ABL Secured Parties, the Prepetition ABL Credit Agreement lndebtedness and (ii) in the case of
the Second Lien Representative, the Prepetitition Term Loan Credit Agreement lndebtedness,
pursuant to sections 361, 363(e) and 364(d)(1) of the Bankruptcy Code, to adequate protection of
their respective interests in the Prepetition Credit Agreement Collateral, including Cash
Collateral, for any diminution in the value of their respective interests in the Prepetition Credit
Agreement Collateral, including, without limitation, any such diminution resulting from the sale,
lease or use by the Debtors of Cash Collateral and any other Prepetition Credit Agreement
Collateral, the priming liens on the Prepetition Credit Agreement Collateral granted to the DIP
Agents and the DIP Lenders pursuant to the DIP Documents and this lnterim Order, and the
imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code, and in each
case to the extent required by the Bankruptcy Code (each, a “Diminution Claim”). As adequate
protection for and to secure payment of an amount equal to, such Diminution Claims, the
Prepetition Secured Parties are granted, nunc pro tunc as of the Petition Date, the following
adequate protection (collectively, the “Adequate Protection Provisions”):

(a) Adequate Protection Liens.
(i) As adequate protection of the interests of the Prepetition ABL

Agent and the Prepetition ABL Lenders in the Prepetition ABL Credit Agreement

Collateral for their Diminution Claims, the Prepetition ABL Agent, for itself and

41

 

 

mail

 

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 42 Of 58

for the benefit of the Prepetition ABL Lenders, is hereby granted valid and
perfected security interests in and liens on the DIP Collateral (the “M
Adequate Protection Liens”), subordinate only to the liens in favor of (1) the
ABL DIP Facility and (2) the Carve Out and subject to all perfected non-
avoidable senior pre-existing liens as of the Petition Date.

(ii) As adequate protection of the interests of the Second Lien
Representative in the Prepetition Term Loan Credit Agreement Collateral for its
Diminution Claims, the Second Lien Representative is hereby granted valid,
binding, continuing, enforceable and fully-perfected security interests in and liens
on the DIP Collateral (the “Term Loan Adequate Protection Liens”),
subordinate only to the liens in favor of the (1) ABL DIP Facility, (2) Term Loan
DIP Facility, (3) Prepetition ABL Credit Facility and (4) the Carve Out, and
subject to all perfected non-avoidable senior pre-existing liens as of the Petition
Date.

(b) Section 507§ b) Claim.

(i) As adequate protection for, and to secure payment of an amount
equal to, the Prepetition ABL Secured Parties’ Diminution Claims the Prepetition
ABL Secured Parties are hereby granted as and to the extent provided by
Bankruptcy Code Section 507(b) allowed superpriority administrative expense
claims against the Debtors with priority over any and all administrative expenses,
diminution claims and all other claims against the Debtors, now existing or
hereafter arising, of any kind whatsoever, including, without limitation, all

administrative expenses of the kind specified in sections 503(b) and 507(b) of the

Error!

42

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 43 Of 58

Bankruptcy Code (the “ABL Adequate Protection Superpriority Claims”),

 

payable from and have recourse to all prepetition and postpetition property of the

Debtors and their estates €SHbjeet-te-&ll~perfeeted_non£voidable.senmr~p;e`

 

Mémehdmgiomheamida;meo£d€mbt,-Miy'grwndfemsjbu%sh%ndude
§h@-p¥oeeeds-fi=om-the-disposition-of-aH~sueh-leases} and all proceeds thereof,

including without limitation, the Avoidance Proceeds, but subject to the payment

of the Carve Out, the ABL DIP Superpriority Claims and the ABL DIP
Obligations.

(ii) As adequate protection for, and to secure payment of an amount
equal to, the Second Lien Lender’s Diminution Claim the Prepetition Term Loan
Secured Parties are hereby granted as and to the extent provided by Bankruptcy
Code Section 507(b), allowed superpriority administrative expense claims against
the Debtors with priority over any and all administrative expenses, diminution
claims and all other claims against the Debtors, now existing or hereafter arising,
of any kind whatsoever, including, without limitation, all administrative expenses

of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code (the

“Term Loan Adequate Protection Superpriority Claims”), web$e-ver-netdsi.i.c.h__

 

which allowed claims shall be payable from

 

and have recourse to all prepetition and postpetition property of the Debtors and

43

 

 

 

 

'_4_
CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 44 Of 58

their estates (Sui;jetl:to@rl:perfez;t€d:mi=avoidable senior'ipre.=existing-l;iens 'a&ofe~

 

and all proceeds thereof, including without

 

limitation, Avoidance Proceeds, but subject to the payment of the Carve Out, the
ABL DIP Superpriority Claims, the ABL DIP Obligations, ABL Adequate
Protection Superpriority Claims, the ABL Prepetition Obligations, the Term Loan

DIP Superpriority Claims, and the Term Loan DIP Obligations.

(c) Interest, Fees, and Expenses. Without further application to this Court, the
Debtors are authorized to pay forthwith in cash (i) all accrued and unpaid interest through
the Petition Date owed under the Prepetition ABL Credit Agreement (including, without
limitation, payment of all outstanding default interest); and (ii) all accrued and unpaid
fees and disbursements owed to the Prepetition ABL Agent, including all reasonable and
documented out-of-pocket fees and expenses of counsel and other professionals of the
Prepetition ABL Agent, as provided under the Prepetition ABL Credit Agreement, as
applicable and, in each case, whether incurred before or after the Petition Date.

(d) Payment of Prepetition Secured Parties’ Professional Fees and Expenses
The Debtors shall pay the Prepetition Secured Parties’ Professional Fees and Expenses
within five (5) business’ days (if no written objection is received within such five (5)
business day period) after such professional has delivered an invoice substantially in the
form provided to the Debtors to date describing such fees and expenses; provided
however, that any such invoice may be redacted to protect privileged, confidential or
proprietary information, with a copy of such invoice to the DIP Agents, the Second Lien

Error!

44

 

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 45 Of 58

Representative, the Backstop Group, the U.S. Trustee, and the Committee (if appointed).
Written objections to payment of such fees and expenses, which may only be asserted by
the Debtors, the DIP Agents, the Backstop Group, the U.S. Trustee and the Committee (if
appointed), must contain a specific basis for the objection and quantification of the
undisputed amount of the fees and expenses invoiced; failure to object with specificity or
to quantify the undisputed amount of the invoice subject to such objection will constitute
a waiver of any objection to such invoice. None of the fees and expenses shall be subject
to Court approval or required to be maintained in accordance with the U.S. Trustee
Guidelines and no recipient of any such payment shall be required to file with respect
thereto any interim or final fee application with the Court; provided, however, if an
objection to a professional’s invoice is timely received, the Debtors shall only be required
to pay the undisputed amount of the invoice and the Court shall have jurisdiction to
determine the disputed portion of such invoice if the parties are unable to resolve the
dispute.

22. Credit Bid. The DIP Agents and the Prepetition Secured Parties, respectively,
shall have the right to credit bid under section 363(k) of the Bankruptcy Code all of their
respective claims (subject to the provisions of paragraph 31) in connection with a sale of the
Debtors’ assets under section 363 of the Bankruptcy Code or under a chapter 11 plan or
otherwise_`.)(_}.~%lila-656j /1,416 @§l' M§’€lf> @T/l“l€§@\)\)\i£ ,

23. Reservation of Rights of Prepetition Secured Parties. Notwithstanding any other
provision hereof, the grant of adequate protection to the Prepetition Secured Parties pursuant

hereto is without prejudice to the right of any of the Prepetition Secured Parties to seek

Error!

45

 

 

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 46 Of 58

modification of the grant of adequate protection provided hereby so as to provide different or
additional adequate protection.

24. Perfection of DIP Liens and Adequate Protection Liens. The DIP Agents, the DIP
Lenders, and the Prepetition Agents are hereby authorized, but not required, to file or record
financing statements, intellectual property filings, mortgages, notices of lien or similar
instruments in any jurisdiction, take possession or control over, or take any other action in order
to validate and perfect the liens and security interests granted to them hereunder. Whether or not
the DIP Agents, the DIP Lenders, or the Prepetition Agents choose to file such financing
statements, intellectual property filings, mortgages, notices of lien or similar instruments, take
possession of or control over, or otherwise confirm perfection of the liens and security interests
granted to them hereunder, such liens and security interests shall be deemed valid, perfected,
allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination
immediately upon entry of this lnterim Order, but subject in all respects to the provisions of this
lnterim Order.

25. Optional Recordation. A certified copy of this lnterim Order may, in the
discretion of the DIP Agents or the Prepetition Agents be filed with or recorded in filing or
recording offices in addition to or iri lieu of such financing statements, mortgages, notices of lien
or similar instruments, and all filing offices are hereby authorized to accept such certified copy
of this lnterim Order for filing and recording.

26. Delivery of lnstruments and Documents. The Debtors shall execute and deliver to
the DIP Agents or the Prepetition Agents, as the case may be, all such agreements, financing

statements, instruments and other documents as the DIP Agents or the Prepetition Agents may

Error!

46

 

 

Error!

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 47 Of 58

reasonably request to evidence, confirm, validate or perfect the DIP Liens or the Adequate
Protection Liens.

27. Preservation of Rights Granted Under the lnterim Order. Except with respect to
the Carve Out, any replacement financing that indefeasibly repays in full in cash the DIP
Obligations and the Diminution Claims prior to or simultaneously with the allowance of any
claims or expenses in connection with such financing, or as expressly provided herein or in the
DIP Agreements, no claim or lien having a priority senior to or pari passu with those granted by
this lnterim Order shall be granted or allowed while any portion of the DIP Obligations or the
Diminution Claims, as the case may be, remain outstanding, and the DIP Liens and the Adequate
Protection Liens shall not be subject to or junior to any lien or security interest that is avoided
and preserved for the benefit of the Debtors’ estates under section 551 of the Bankruptcy Code or
subordinate to or made pari passu with any other lien or security interest, whether under section
364(d) of the Bankruptcy Code or otherwise, in each case, whether in these Cases or any
Successor Case (as defined herein), without the express written consent of the DlP Agents given
in accordance with the DIP Documents (which consent may be withheld in each DIP Agent’s
sole discretion).

28. Certain Limits on Rights of Debtors. Unless all DIP Obligations and Diminution
Claims shall have been indefeasibly paid in full in cash, the Debtors shall not seek, and it shall
constitute an Event of Default under the DIP Agreements and a Cash Collateral Termination
Event hereunder if any of the Debtors seek, or if there is entered (a) any stay, vacatur, rescission,
or modification of this lnterim Order without the prior written consent of the DIP Agents and the
Prepetition Secured Parties that is not reversed or vacated within five (5) days, and no such

consent shall be implied by any other action, inaction or acquiescence by the DIP Agents or the

47

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 48 Of 58

Prepetition Secured Parties; or (b) an order converting the Cases to cases under chapter 7 of the
Bankruptcy Code or dismissing any of the Cases that is not reversed or vacated within five (5)
days. lf an order dismissing any of the Cases under section 1112 of the Bankruptcy Code or
otherwise is at any time entered, such order shall provide (in accordance with sections 105 and
349 of the Bankruptcy Code) that (x) the DIP Superpriority Claims and other administrative
claims granted under this lnterim Order, the DIP Liens and the Adequate Protection Liens shall
continue in full force and effect and shall maintain their priorities as provided in this lnterim
Order until all DIP Obligations and all Diminution Claims shall have been paid and satisfied in
full (and that such DIP Superpriority Claims, the other administrative claims granted under this
lnterim Order, the DIP Liens and the Adequate Protection Liens shall, notwithstanding such
dismissal, remain binding on all parties in interest) and (y) this Court shall retain jurisdiction
notwithstanding such dismissal, for the purposes of enforcing the claims, liens and security
interests referred to in clause (x) above. L\?g,,` w\»,‘ `+\m§

29. Effect of Reversal, Etc. H reversal or modification on a peal of ~an-I“`¥;"""‘\

`\C>j.»‘\ KQ~,“\ (§- CB~( `3\\\°`. \`S~…\\.‘r\< CQA

6 <)~`>4)\‘\@3 0 O< §\w)
' '¢ 0 ' l‘»`[:UI“Of&-

343

        

    

I‘-I

 

 

d any DIP Obligationsl. d the Adequate Protection Provisions so=iaeaired, 6 the DIP LiensJ p(
Q.M
the Adequate Protection Liens)§e=gian-ted,.ie the ABL DIP Agents, the ABL DIP Lenders, the

Od\
Term Loan DIP Agent, Term Loan DIP Lenders, dr the Prepetition Secured Parties Whether-on

 

mrthe ABI DIP Agents the ART DIP T muher ibp Tpvm T mm DIP Agent T/ oan DIP

    

<m\X G`~r‘z, Q,M`\\\e\ ~\Q Q&,\ ex ‘\\/\L
\Qo_,\;\o`§\\> (.\v\\ Q{oA\LC\\m\/) Q,& §:){\QX \Q\FY
S§`i:\ts.\ 3 t,\'\ (Q 48

 

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 49 Of 58

30. Survival of Rights. Except as expressly provided in this lnterim Order or in the
DIP Documents, the DIP Liens, the DIP Superpriority Claims, the Adequate Protection
Provisions, and all other rights and remedies of the ABL DIP Agents, the ABL DIP Lenders, the
Term Loan DIP Agent, Term Loan DIP Lenders, or the Prepetition Secured Parties granted by
the provisions of this lnterim Order and the DIP Documents and any actions taken pursuant
hereto shall survive, and shall not be modified, impaired, or discharged by (a) the entry of an
order converting any of the Cases to a case under chapter 7 of the Bankruptcy Code, dismissing
any of the Cases, or by any other act or omission, (b) the entry of an order confirming a plan of
reorganization in any of the Cases or (c) consummation of any chapter 11 plan(s). The terms and
provisions of this lnterim Order and the DIP Documents shall continue in the Cases, in any
successor cases if the Cases cease to be jointly administered, or in any superseding chapter 7
cases under the Bankruptcy Code (each, a “Successor Case”), and the DIP Liens, the Adequate
Protection Liens, the DIP Obligations, the DIP Superpriority Claims, and all other administrative
claims granted pursuant to this lnterim Order and all other rights and remedies of the ABL DIP
Agents, the ABL DIP Lenders, the Term Loan DIP Agent, Term Loan DIP Lenders, and the
Prepetition Secured Parties granted by the provisions of this lnterim Order and the DIP
Documents shall continue in full force and effect until all DIP Obligations, all Diminution
Claims, and all allowed claims payable in cash arising from the Adequate Protection Provisions
are indefeasibly paid in full in cash.

31. Effect of Stipulations on Third Parties. The stipulations and admissions contained
in paragraph D of this lnterim Order shall be binding on the Debtors and all parties in interest,
including, without limitation, any Committee, unless, and solely to the extent that an adversary

proceeding or other contested matter has been commenced by a party in interest (other than the

49

 

 

 

 

_4_
CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 50 Of 58

Debtors) with the requisite standing and authority, against the Prepetition Secured Parties in
connection with any matter related to the Prepetition Credit Agreements, by the earlier of (a) the
date of the hearing scheduled to consider confirmation of the Plan and (b) (i) in the case of such
adversary proceeding or other contested matter filed by a party in interest with required standing
other than the Committee (if any), no later than seventy-five (75) days from the date of entry of
this lnterim Order, or (ii) in the case of an adversary proceeding or other contested matter filed
by the Committee (if any), no later than sixty (60) days after the appointment of the Committee
(if any) (the earlier to occur of (a) and(b), the “Challenge Deadline”). The Challenge Deadline
may be extended in writing from time to time in the sole discretion of the Prepetition ABL Agent
(with respect to the Prepetition ABL Credit Agreement), the Second Lien Representative (with
respect to the Prepetition Term Loan Credit Agreement), or by this Court for good cause shown
pursuant to an application filed by a party in interest prior to the expiration of the Challenge
Deadline. If no such adversary proceeding or contested matter is timely and properly filed by the
Challenge Deadline or the Court does not rule in favor of the plaintiff in any such proceeding
(which ruling on standing, if appealed, shall not stay or delay the Cases or confirmation of a
chapter 11 plan), then the (a) stipulations, admissions and releases contained in paragraph D of
this lnterim Order shall become binding on all parties in interest, including, for the avoidance of
doubt, any Committee appointed in the Cases, (b) Prepetition Credit Agreement lndebtedness
shall constitute allowed claims, not subject to counterclaim, setoff, subordination,
recharacterization, defense or avoidance, for all purposes in the Cases and any subsequent
chapter 7 case, (c) Prepetition Credit Agreement Liens on the Prepetition Credit Agreement
Collateral shall be deemed to have been, as of the Petition Date, and to be, legal, valid, binding,

perfected and of the priority specified in paragraph D, not subject to defense, counterclaim,

Error!

50

 

 

Errorl

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 51 Of 58

recharacterization, subordination or avoidance, and (d) Prepetition Credit Agreement
lndebtedness and the Prepetition Credit Agreement Liens shall not be subject to any other or
further challenge by the Debtors, any Committee, or any other party in interest, each of whom
shall be enjoined from seeking to exercise the rights of the Debtors’ estates, including, without
limitation, any successor thereto (including, without limitation, any estate representative or a
chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors with respect thereto).
lf any such adversary proceeding or contested matter is timely and properly filed, the
stipulations, admissions and releases contained in paragraph D of this lnterim Order shall
nonetheless remain binding and preclusive on the Debtors, any Committee, and any other person
or entity, except as to any such stipulations and admissions that were expressly and successfully
challenged in such timely and properly filed adversary proceeding or contested matter. Nothing
in this lnterim Order vests or confers on any Person (as defined in the Bankruptcy Code),
including the Committee, standing or authority to pursue any cause of action belonging to the
Debtors or their estates, including, without limitation, claims and defenses with respect to the
Prepetition Credit Agreement lndebtedness or the Prepetition Credit Agreement Liens.

32. Limitation on Use of DIP Facility Proceeds, DIP Collateral, and Cash Collateral
Notwithstanding anything herein or in any other order by this Court to the contrary, without the
prior written consent of the DIP Agents or the Prepetition Agent, none of the DIP Obligations,
the Cash Collateral, DIP Collateral, or the Carve Out may be used for the following purposes: (a)
to object to or contest the validity or enforceability of the lnterim Order or Final Order or any
obligations outstanding under the DIP Documents or the Prepetition Credit Agreement; provided,
however, that the Comrnittee, if any, may expend up to $50,000 (the “lnvestigation Budget”) for

the fees and expenses incurred in connection with the investigation of, but not litigation,

51

 

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 52 Of 58

objection or any challenge to, the stipulations and admissions contained in paragraph D; (b) to
assert or prosecute any claim or cause of action against the DIP Agents, any DIP Lender, or any
Prepetition Secured Party; (c) to seek to modify any of the rights granted under the lnterim Order
or Final Order to the DIP Agents, any DIP Lender or any Prepetition Secured Party; (d) to make
any payment in settlement or satisfaction of any prepetition or administrative claim, unless in
compliance with the covenants related to the Budget (as set forth herein or in the DIP
Agreements) and, with respect to the payment of any prepetition claim or non-ordinary course
administrative claim, separately approved by this Court; (e) to object to, contest, delay, prevent
or interfere in any way with the exercise of rights and remedies by the ABL DIP Agents, the
ABL DIP Lenders, Term Loan DIP Agent, or Term Loan DIP Lenders under the DIP Documents
or with respect to the DIP Collateral once an Event of Default has occurred and any applicable
notice period has expired (except that, prior to the expiration of such notice period, the rights of
the Debtors and other parties in interest with respect to any such exercise of remedies are
preserved); or (f`) except as expressly provided or permitted under the DIP Agreements and the
Budget, to make any payment or distribution to any non-Debtor affiliate, equity holder, or insider
of any Debtor outside of the ordinary course of business.

33. Events of Default. Except as otherwise provided in this lnterim Order, unless
waived by the DIP Agents in writing and in accordance with the terms of the DIP Agreements,
each of the following shall constitute an event of default (collectively, “Events of Default”)
(a) failure of the Debtors to perform or comply with any of the terms, provision, conditions,
covenants, or obligations under this lnterim Order or (b) the occurrence of an Event of Default as

defined in the DIP Agreements.

52

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 53 Of 58

34. Termination of Cash Collateral Use. ln the absence of a further order of this
Court, and notwithstanding anything herein or in the DIP Documents to the contrary, and after
delivery (including delivery by electronic mail or facsimile) of notice of the occurrence of a Cash
Collateral Termination Event by one or more of the DIP Agents, as applicable, to the Debtors,
the Committee (if appointed), the Second Lien Lender and the U.S. Trustee, the Debtors shall no
longer be authorized pursuant to this lnterim Order to use Cash Collateral other than with respect
to the Carve Out and such Cash Collateral use shall automatically terminate the date upon which
any of the following events occurs (such date being referred to herein as the “Cash Collateral
Termination Date,” and each of the following events, a “Cash Collateral Termination Event”):

(g) the appointment of a trustee or the appointment of an examiner with
enlarged powers in any of the Cases unless such appointment is approved by the Prepetition
Agents;

(h) the delivery of a Carve Out Trigger Notice;

(i) the Debtors’ breach of any affirmative or negative covenant contained in
the DIP Agreements (subj ect to any applicable grace period therein);

(j) the Debtors’ failure to comply with any of the terms or provisions of this
lnterim Order in any material respect, unless waived or otherwise modified with the prior written
consent of the DIP Agents or the Prepetition Agents, as applicable;

(k) entry of an order by this Court or any other Court having jurisdiction over
these Cases granting other superpriority liens with priority over or pari passu with the DIP

Liens;

53

 

 

Error!

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 54 Of 58

(l) the filing by the Debtors of a motion to approve postpetition financing
without the prior written consent of the DIP Agents acting at the direction of the relevant
required DIP Lenders;

(m) the filing by the Debtors of a motion to approve any material sale of assets
of the Debtors under section 363 of the Bankruptcy Code, pursuant to a chapter 11 plan, or
otherwise, in each case without the prior written consent of the DIP Agents acting at the
direction of the relevant required DIP Lenders;

(n) entry of an order granting relief from the automatic stay to the holder or
holders of security interests to permit foreclosures (or granting similar relief) on any property of
the Debtors having a value in excess of $1 million, except as permitted by the DIP Agreements;

(o) after entry of the Final Order, the filing of a motion by any Debtor (or any
party in interest) that is not dismissed or denied within thirty (30) days after the date of filing
such motion seeking, or the entry of any order permitting, recovery from any portion of the
Prepetition Credit Agreement Collateral (or from any Prepetition Secured Party directly) any
costs or expenses of preserving or disposing of the Prepetition Credit Agreement Collateral
under section 506(c) or section 552(b) of the Bankruptcy Code (or otherwise);

(p) the termination of the commitments under the DIP Documents or
acceleration of the DIP Obligations; or

(q) any of the liens securing the Prepetition Credit Agreement lndebtedness or
the Adequate Protection Liens granted to the Prepetition Secured Parties shall cease to be valid,
binding, and perfected liens with the priority and to the extent provided in this lnterim Order.

35 . Rights of Prepetition Agents. Notwithstanding the occurrence of the Cash

Collateral Termination Date, all of the rights, remedies, benefits and protections provided to the

54

 

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 55 Of 58

Prepetition Agents under this lnterim Order as of such Cash Collateral Termination Date shall
survive the Cash Collateral Termination Date.

36. Access to the Debtors. ln accordance with the terms of the DIP Documents and
the Prepetition Credit Agreements, the DIP Agents and the Prepetition Agents, respectively, and
their respective professionals shall be afforded continued reporting as to DIP Collateral amounts
and reasonable access to the DIP Collateral and the Debtors’ business premises, during normal
business hours and upon reasonable advance notice, for purposes of verifying the Debtors’
compliance with the terms of this lnterim Order.

37. Modifications of DIP Documents. The Debtors, the DIP Agents, and the DIP
Lenders are hereby authorized to implement, in accordance with the terms of the respective DIP
Documents, any non-material modifications of the respective DIP Documents without further
order of this Court; provided, however, that notice of any material modification or amendment to
the respective DIP Documents shall be provided to counsel to the Committee, if any, the
Prepetition Agents, and the U.S. Trustee, each of whom shall have five (5) business days from
the date of such notice within which to object in writing to such modification or amendment lf
the Committee, either of the Prepetition Agents, or the U.S. Trustee timely objects to any
material modification or amendment to the DIP Documents, such modification or amendment
shall only be permitted pursuant to an order of this Court.

38. Continuing Effect of Control Agreements and Credit Card Notifications. All of
the rights and benefits afforded to the Prepetition ABL Agent pursuant to Section 8.12 of the
Prepetition ABL Credit Agreement shall be deemed transferred to the ABL DIP Admin Agent
upon entry of the lnterim Order including with respect to receiving all cash receipts and

collections in a Concentration Account identified by the ABL DIP Admin Agent after and during

55

 

 

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 56 Of 58

the continuance of a Cash Dominion Period (as defined in the Prepetition ABL Facility) from
each Credit Card Notification and Deposit Account Control Agreement set forth on Exhibit 4
attached hereto. All of the agreements set forth on Exhibit 4 shall be enforceable by and against
the ABL DIP Admin Agent and by and against the parties to such agreements (other than the
Prepetition ABL Agent). The Debtors have provided notice of the DIP Motion and interim
hearing to each of the parties to the agreements set forth on Exhibit 4.

39. Binding Effect; Successors and Assigns. The DIP Documents and the provisions
of this lnterim Order, including all findings herein, shall be binding upon all parties in interest in
these Cases, including, without limitation, the DIP Agents, the DIP Lenders, the Prepetition
Secured Parties, any Committee appointed in these Cases, and the Debtors and their respective
successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or
elected for the estate of any of the Debtors; provided, however, for the avoidance of doubt, that
the Debtors’ acknowledgements, stipulations, and releases set forth in paragraph D, are subject to
paragraph 31 hereof) and shall inure to the benefit of the ABL DIP Agents, the ABL DIP
Lenders, the Term Loan DIP Agent, Term Loan DIP Lenders, the Prepetition Secured Parties,
and the Debtors and their respective successors and assigns; provided, however, that the DIP
Agents and the DIP Lenders shall have no obligation to extend any financing to any chapter 7
trustee or similar responsible person appointed for the estates of the Debtors. ln determining to
make any loan under the DIP Agreements or in exercising any rights or remedies as and when
permitted pursuant to this lnterim Order or the DIP Documents, the DIP Agents and the DIP
Lenders shall not be deemed to be in control of the operations of the Debtors or to be acting as a
“responsible person” or “owner or operator” with respect to the operation or management of the

Debtors (as such terms, or any similar terms, are used in the United States Comprehensive

Error!

56

 

 

 

Error!

 

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 57 Of 58

Environmental Response, Compensation and Liability Act, 42 U.S.C. § 9601 er seq., as
amended, or any similar federal or state statute).

40. Master Proof of Claim. Notwithstanding any order entered by this Court in
relation to the establishment of a bar date in any of the Cases or any Successor Case to the
contrary, none of the Prepetition Secured Parties will be required to file (i) proofs of claim for
claims arising under the Prepetition Credit Documents or (ii) requests for payment of
administrative expenses in any of the Cases or any Successor Case with respect to any Adequate
Protection Obligations or Adequate Protection Payments, and the Debtors’ stipulations,
admissions, and acknowledgements and the provisions of this lnterim Order shall be deemed to
constitute a timely filed proof of claim for the Prepetition Secured Parties with regard to all
claims arising under the Prepetition Credit Documents. Notwithstanding the foregoing, each of
the Prepetition Agents, for the benefit of itself and its respective Prepetition Secured Parties, are
authorized and entitled, in their sole discretion, but are not required, to file (and amend and/or
supplement, as each sees fit), for any claim or administrative expense claim described herein (i) a
master proof of claim, (ii) proofs of claim and/or (iii) requests for payment of administrative
expenses, in each of the Cases or any Successor Case. The failure to file any such proof of claim
or request for payment of an administrative expense shall not affect the validity or enforceability
of any of the Prepetition Credit Agreement lndebtedness or this lnterim Order. The DIP Agents
and the DIP Lenders shall similarly not be required to file proofs of claim to maintain their
respective claims for payment of the DIP Obligations, and the evidence presented with the DIP
Motion and the record established at the lnterim Hearing are deemed sufficient to, and do,

constitute proofs of claim with respect to such obligations and secured status.

57

 

 

Error!

 

CaS€ 18-12241-CSS DOC 184 Filed 10/09/18 Page 58 Of 58

41. Effectiveness, This lnterim Order shall constitute findings of fact and conclusions
of law and shall take effect immediately upon execution hereof, and there shall be no stay of

Ql‘:.l
42. Final Hearing. The Final Hearing is scheduled for October E, 2018 at 10:00

execution of effectiveness of this lnterim Order. )\
a.m. (ET)] before this Court. The Debtors shall promptly mail copies of this lnterim Order
(which shall constitute adequate notice of the Final Hearing) to the parties having been given
notice of the lnterim Hearing, to any other party that has filed a request for notices with this
Court, and to the Committee, if appointed, or Committee counsel, if the same shall have been
retained. Any party in interest objecting to the relief sought at the Final Hearing shall serve and
file written objections; which objections shall be served no later than October§, 2018 at 4:00
p.m. (ET)] upon the Debtors and their proposed counsel, counsel to the ABL DIP Agents and the

Term Loan DIP Agent, counsel to the Second Lien Lender and the U.S. Trustee.

Dared; IO)[ 3 ,2018 <
Wiimington, eiaware THE HoNoRABLE CHRisToPHER s. soNreiii
CHIEF UNITED sTATEs BANKRUPTCY JUDGE

 

58

 

 

 

